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                            Exhibit 1
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Reg. No. 5,623,982           The Maya Group, Inc. (CALIFORNIA CORPORATION)
                             10741 Walker Street
Registered Dec. 04, 2018     Cypress, CALIFORNIA 90630

                             CLASS 28: Toys incorporating balls made from super absorbent polymer, namely, play sets
Int. Cl.: 28                 for action figures and toy water globes

Trademark                    FIRST USE 9-30-2017; IN COMMERCE 6-30-2018

Principal Register           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                             PARTICULAR FONT STYLE, SIZE OR COLOR

                             OWNER OF U.S. REG. NO. 4687114, 3827979

                             SER. NO. 87-690,409, FILED 11-18-2017
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